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   9                            UNITED STATES DISTRICT COURT
  10                          CENTRAL DISTRICT OF CALIFORNIA
  11                                     WESTERN DIVISION
  12
       WEBMAGIC VENTURES, LLC, a                          CASE NO.: 2:18-cv-5933-PA-AS
  13   California limited liability company,
                                                          Hon. Percy Anderson
  14                        Plaintiff,
                                                          [PROPOSED] ORDER GRANTING
  15   v.                                                 DEFENDANTS’ MOTION TO
                                                          DISMISS PURSUANT TO FED. R.
  16   DEUX RON, INC., a Tennessee                        CIV. P. 12(B)(2), 12(B)(3), OR IN
       corporation; RON HENSLEY, an                       THE ALTERNATIVE, TO
  17   individual; and ERIC HENSLEY, an                   TRANSFER VENUE UNDER 28
       individual,                                        U.S.C. §§ 1404, 1406, 1631
  18
                            Defendants.                   DATE:   August 27, 2018
  19                                                      TIME:   1:30 p.m.
                                                          COURTROOM: 9A
  20
                                                          TRIAL DATE:           Not set
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        [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P.
       12(B)(2), 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
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   1          The Court, having considered Defendants’ Motion to Dismiss Pursuant to Fed.
   2   R. Civ. P. 12(b)(2), 12(b)(3), or in the Alternative, to Transfer Venue under 28 U.S.C.
   3   §§ 1404, 1406, 1631; the opposition; and the reply, and good cause therefore
   4   appearing, namely, that Defendants did not purposely direct allegedly infringing
   5   activities to California, even if Plaintiff claims to have suffered loss in this state, see
   6   this Court’s prior decision in Carsey-Werner Co., LLC v. BBC, No. CV 17-8041 PA
   7   (ASx), 2018 U.S. Dist. LEXIS 33862, at *11–16 (C.D. Cal. Feb. 23, 2018)
   8   (Anderson, J.), GRANTS the Motion as follows:
   9          The Court ORDERS the above-titled action DISMISSED.
  10          [Optional] The Court ORDERS the above-titled action be TRANSFERRED to
  11   the United States District Court for the Eastern District of Tennessee.
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       DATED:                                         By:
  14                                                         Hon. Percy Anderson
                                                             United States District Judge
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         [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P.
        12(B)(2), 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
